             CASE 0:22-cr-00234-KMM-TNL Doc. 1 Filed 09/15/22 Page 1 of 2

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                              LINITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA

UNITED STATES OF             AMERICA,                )
                                                     )    INDICTMENT
                        Plaintiff;                   )
                                                     )    18   u.s.c. $ e22(g)(1)
                 v.                                  )    18   U.S.C. $ 92a(aX8)
                                                     )
ruSTICE       ANTHONYVALENTINO,                      )
                                                     )
                        Defendant.                   )

          TIIE TINITED STATES GRAND JURY CHARGES TIIAT:

                                            COUNT     1
                                 (Felon in Possession of a Firearm)

           On or about August 6,2022, in the State and District of Minnesota, the defendant,

                              JUSTICE AIITHONY VALENTINO,

having previously been convicted of the following crimes, each of which was punishable

by   a   term of imprisonment exceeding one year:

                                                                          Date of Convicfion
             Felonv Offense                Place of Conviction              (On or About)

 Fleeing Police Officer in Motor
                                         Isanti County, MN              June 8,2022
 Vehicle

 Drugs - 5th Degree      -   Sale or
                                         Wright County, MN              April 25,2022
 Possession

 Domestic Assault                        Hennepin County, MN            August 7,2019

 Burglary     - First Degree             Hennepin County, MN            September 25,2015

 Simple Robbery                          Hennepin County, MN            September 25,2015

 Terroristic Threats                     Hennepin County, MN            September 25,2015


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            CASE 0:22-cr-00234-KMM-TNL Doc. 1 Filed 09/15/22 Page 2 of 2

United States v. Valentino


and knowing he had been convicted of at least one crime punishable by imprisonment for

aterm exceeding one year, did knowingly possess, in and aflecting interstate and foreign

commerce, a firearm-thatis, aRuger model LC9 semiautomatic 9-millimeter pistol with

an obliterated serial number-all in violation of Title 18, United States Code, Sections

e22(g)(1) and e24 (a)(8) .

                              FORFETTURE ALLEGATIONS

       Count 1 of this Indictment is incorporated by reference for the purpose of alleging

forfeitures pursuant to Title 18, United States Code, Sections 924(d) and Title 28, United

States Code, Section 2a6l@).

       If   convicted of Count 1 of this Indictment, the defendant shall forfeit to the United

States pursuant to    Title 18, United States Code, Section 924(d)(1) and Title 28, United

States Code, Section 246t(c), any firearms, ammunition, and accessories involved         in or

used in the commission of Count 1, including, but not limited to, a Ruger model LC9

semiautomatic 9-millimeter pistol with an obliterated serial number, and any ammunition

and accessories seized therewith.

                                        A TRUE BILL



UNITED STATES ATTORNEY                             FOREPERSON
